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                       EXHIBIT 2
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                    NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLKMENT                                             O




                            Jerome Skochin,et al. v. Genworth Life Insurance Company,et al.
       United States District Court for the Eastern District ofVirginia(Richmond Division), Case No. 3:19-cv-00049-REP
     TO: POLICYHOLDERS OF GENWORTH LIFE INSURANCE COMPANY ("GLIC") AND GENWORTH
     LIFE INSURANCE COMPANY OF NEW YORK ("GLICNY")(collectively GLIC and GLICNY are referred
     to as "Genworth") LONG-TERM CARE INSURANCE POLICIES ON POLICY FORMS OR CERTIFICATES
     IDENTIFIEDINTHEATTACHED APPENDIX 1(the"ClassPolicies")IN FORCEON ORAFTERJANUARY 1,2012,
     WHOSE POLICIES HAVE NOT LAPSED OR BEEN TERMINATED

    YOU ARE HEREBY NOTIFIED that a proposed settlement ofthe above-entitled class action lawsuit pending in
     the United States District Court ofthe E^em District of Viiginia(the "Class Action")has been reached between
     the parties, and on January 15, 2020,the settlement was granted preliminary approval by the Court supervising
     the lawsuit.

    THE PURPOSE OF THIS NOTICE is to describe the Class Action, to inform you of the proposed settlement
    terms, and to inform you of your potential rights and options in connection with the settlement.
    The settlement will resolve all claims in the above-entitled Class Action. A court hearing concerning the fairness
     of the settlement (the "Final Approval Hearing") will be held on July 10, 2020 at 10:00 a.m. at the following
     address: TTie Spottswood W. Robinson III and Robert R. Merhige, Jr., Federal Courthouse, 701 East Bread
     Street, Richmond, VA 23219, Richmond Courtroom 7400 to determine whether the settiement should be given
    final approval by the Court. You are not required to attend the hearing in order to participate in the settlement.
    BECAUSE YOUR RIGHTS MAY BE AFFECTED, IT IS EXTREMELY IMPORTANT THAT YOU READ
    THIS ENTIRE NOTICE CAREFULLY.

    If you have any questions, you may contact Epiq (the "Settlement Administrator") toll-free at 1 (833) 991-1532,
    or you may call Class Counsel at (800) 449-4900. You should not contact the Court, Genworth, or Genworth's
    counsel with questions about this Notice or the settlement, although you may contact Genworth,as usual, about
    your policy, benefits, or any election letter received.

      A.       DESCRIPTION OF THE CLASS ACTION

    On January 18,2019,three individuals with GLIC Choice 1 long term care insurance policies,Jerome Skochin,Susan
    Skochin, and Larry Huber("Named Plaintiffs"), filed a Class Action Complaint("Complaint") gainst GLIC (and
    another, now dismissed Genworth entity) in the United States District Court for the Elastem District of Virginia,
    alleging that GLIC intentionally withheld material information from policyholders with respect to the full scope and
    magnitude ofGLIC's rate increase action plans and its reliance on policyholders paying increased rates to pay future
    claims. That Complaint was amended on April 29, 2019, Septemoer 20, 2019, and November 22, 2019. The Third
    Amended Complaint is against GLIC and GLICNY and alleges fraudulent inducement by omission and violations of
    the Pennsylvania Un^r Trade Practices and Consumer Protection Law on behalfof policyholders in all fifty states.
    Genworth denies any wrongdoing or legal liability for any alleged wrongdoing in connection with any facts or claims
    that have been or could have been alleged in Named Plaintiffs' lawsuit(including all complaints)and contends that
    neither Named Plaintiffe nor the putative class have been injured or are entitled to any relief.
    The Court has not ruled on the merits ofthe claims or defenses.

    All Parties believe in the merits of their respective claims and defenses. Nevertheless, due to the uncertanties,
    risks, expenses, and business disruption of continued litigation, the Parties have ^reed to settle the lawsuit after
    voluntary mediation proceedings involving a mediator. The parties have entered into a Joint Stipulation of Class
    Action Settlement and Release and an Amendment to the Joint Stipulation of Class Action Settlement and Release
    (together, the "Settlement Agreement"), which the Court has found will likely be approved as fair and reasonable.
    The principal terms ofthe Settlement Agreement are summarized in this Notice. The full Settlement Agreenaent is
    on file with the Court and available at www.LongTermCarelnsuranceSettlement.com. The attorneys for plaintiffs
    Jerome Skochin,Susan Skochin,and LafiYHy|ter have been designated by the Court as"Class Counsel"to represent
    all Settlement Class members affected by the^ettlement Agreement. Class Counsel believes that the Settlement
    Agreement summarized by this Notice is feir, reasonable, and adequate and in the best interests of the Settlement
    Class members.




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     The following law firms are Class Counsel and represent the Settlement Class members:

       Goldman Scarlato & Penny,P.C.                  Robbins Geller Rudman &                        Beiger Montague P.C.
                                                      Dowd LLP
      Brian D. Penny                                                                                 Glen L. Abiamson
      8 Tower Bridge, Suite 1025                      Stuart A. Davidson                             1818 Market Street, Suite 3600
      161 Washington Street                           120 East Palmetto Park Road,                   Philadelphia,PA 19103
      Conshohocken,PA 19428                           Suite 500                                      Telephone:(215) 875-3000
      Telephone:(484) 342-0700                        Boca Raton, FL 33432                           Fax:(215)875-4604
      Fax:(484)580-8747                               Telephone:(800)449-4900
                                                      Fax:(561)750-3364
                                                              Phelan Petty,PLC
                                                                 Jonathan M.Petty
                                                       6641 West Broad Street, Suite 406
                                                             Richmond,VA 23230
                                                          Telephone;(804)980-7100
                                                                Fax:(804)767-4601
     The Settlement Administrator is Epiq. Epiq's phone number is 1 (833) 991-1532; and its mailing address is
     Skochin v. Genworth Settlement Administrator, P.O. Box 4230,Portland, OR 97208-4230.

       B.     SETTLEMENT CLASS IVIEIVIBERS

     The "Settlement Class" members for purposes ofthis settlement are defined as all Policyholders' of Class Policies^,
     excluding: (1) those Policyholders of Class Policies whose policies went into Non-Forfoiture Status^ prior to
     January 1,20l4;(2)those Policyholders ofClass Policies thatentered a Fully Paid-Up Status"atany time upto the date
     the Class Notice is mailed;(3)any Policyholder whose Gass Policy is lapsed^ and is outside any period Genworth
     allows for the Class Policy to be automatically reinstated with payment ofpast-due premium,or whose Class Policy
     has otherwise terminated®, as ofthe date ofthe Class Notice; or any Policyholder whose Class Policy is lapsed and
     is outside any period Genworth ^lows for the Class Policy to be automatically reinstated with payment of past-due
     premium or has otherwise terminated, as ofthe date the Special Election Letter would otherwise be mailed to the
    Policyholder:(4) Genworth's current officers, directors, and employees as ofthe date Class Notice is mailed; and
    (5)Judge Robert E.Payne and his immediate family and staff.
    Changes to your policy status or coverage (including,for example, whether your policy lapses or is terminated)may
    also impact whether or not you are in tlie proposed Settlement Class.If your policy lapses fertile date ofthis Notice,
    it must be reinstated within the period that Genworth allows your Class Policy to be automatically reinstated with
     payment of past due premium if you wish to exercise rights and options in the settlement.




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     Poljcyholder(s)" means both thepolicy owner,and
                                    policy owner  except  whereinsured
                                                     the other   a single policy
                                                                       person     insures both a policy owner and anotlier insured person,
                                                                              jointly.
  'Class Policies are identified in tlie attached Appendix 1.
    ^'^on-Forfeiture Status" means the exercise ofa "Non-Forfeiture Option." Non-Forfeiture Options include benefits under an optional Non-
    Forfeiture Benefit Ri^,the Limited Benefits Upon Lapse Due to a Substantial Premium Increase(also called a Contingent Non-forfeiture
    Benefit),and the Optional Limited Benefit Endorsement.
   ""Fully I^id Up Status" means a status whereby a policy is continued in full force and effect and no more premiiunsare due.A policy in Fully
    Paid-Up Status does not include a policy that is in a Non-Forfeiture Status.
  '"Lapse" or "lapsed" meaim a status whereby a policy is no longer in force because premium was not paid as required. A lapsed policy
    termmates and cannot be reinstated ifit is outside any period Genworth allows for the policy to be automatically reinstated wito payment of
    past-due premium. For purposes ofthis AgreemenL a ^licy that goes on Non-Forfeiture Status is not a lapsed policy.
    *"Terminated" means a status whereby a policy is no longer in force and is unable to be automatically reinstated by the policyholder witli
    paymeih ofpast-due premium. It indues,for example,a policy tliat has lapsed beyond tlie period permitted for automatic reinstatement, a
    policy that has been cancelled,or a policy(including a policy in Non-Forfeiture status)thatis no longer in force because sJ! available benefits
    have been exliausted.


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   E          YOUR OPTIONS

   As a potential Settlement Class member, you have several options and you should read this entire Notice carefully     „
   before acting.                                                                                                        1
   OPTION #1;If you do not oppose the settlement ofthe lawsuit,then simply do nothing. You do not                 |
   an opt-out letter and do not need to send any documents to the Settlement Administrator. IF YOU PQ        l           1
   AND YOU MEET THE CLASS DEFINITION,YOU WILL BE BOUND BY THE TERMS OF THE SETTLEMENT,                                   8
   INCLUDING THE RELEASE.If you do nothing, you will not have the right to pursue your own action for the claims         g
   covered by the Class Action Release.Ifthe Settlement Agreement is finally.approved by the Court,you will then be sent
                                                                                                                     |
   another correspondence with options to elect to receive benefits in the Settlement Agreement.                         °
   OPTION #2; If you do NOT want to be bound by the Settlement Agreement and wish to retain the right to
   proceed against GLIC and/or GLICNY on your own as to the claims that were alleged,or that have a re^onable
   connection with any matter of feet set forth in the Class Action, subject to any defenses that may be available to
   GLIC and/or GLICNY to any claims you may have,including, but not limited to,statutes oflimit^on ^d^utes of
   repose,then you must notify the Settlement Administrator that you wish to exclude yourselffrom the Settlement
   Agreement and the Settlement Class.
   To do so, you must send a signed letter to the Settlement Administrator, which includes: (1) your name,
   (2)your address,(3)if available, your policy number,(4)a statement that you are"revesting exclusion from
   the Settlement Agreement,(5)the name ofthe case and case number(Skochin,et al. v. Genworth LifeInsurance
   Company,et ai.Case No.3:19-cv-00049-REP),and(6)your signature.
   Opt-out letters can be mailed to the Settlement Administrator at the following mailing address: Skochin v. Genworth
   Settlement Administrator, P.O. Box 4230,Portland, OR 97208-4230.
   The letter requesting exclusion must be postmarked no later than June 13, 2020. Any request for exclusion
    received with a postmark after that date will be invalid.
   IF YOU CHOOSE TO EXCLUDE YOURSELF, YOU WILL NOT RECEIVE THE SETTI^ENT
   AGREEMENT POLICY ELECTION OPTIONS OR OTHER RELIEF AND THE TERMS OF THE
   SETTLEMENT WILL NOT APPLY TO YOU.

   OPTION #3: If you want to remain in the Settlement Agreement and be bound by its terms, but you oppose
   any aspect of the Settlement Agreement,you may object to the Settlement Agreement.
   In order to object, you must file a written Objection with the Clerk of United States District Court for the
   Eastern District of Virginia, located at 701 East Broad Street, Richmond, VA 23219, and you mu^ serve a
   copy ofthe written Objection on the Settlement Administrator at the following address: Skochin v. Genworth
   Settlement Administrator,P.O.Box 4230,Portland,OR 97208-4230.
   A written Objection must include:(1) your full name,(2) your current address,(3)if avail^le, your long term care
   insurance policy number,(4)the name ofthe case and the case number {Skochin et al. v. Genworlh Life Insurance
   Company et al. Case No. 3:19-cv-00049-REP),(5) the basis or reason(s) for your objection(s),(6) your signature,
   and (7)if you (or.someone on your behalf such as an ^omey)intends to app^r at the Find Approval Hearing, a
   statement stating that you(or someone on your behalf)intend to appear at the Final Approval Hearing.
   Any written Objection must be filed with the Court and sent to the Settlement Administrator with a postmark
    no later than June 13,2020. Any written Objection filed and/or mailed with a postmark after this deadline
   will be invalid.

   You maj' be permitted to appear personally (or through an attorney) at the Find Approvd Hearing to present y*^!"
   objections directly to the Court if you timely file and serve a written Objection and do not submit a request for
   exclusion from the Settlement Agreement. A written Objection must state whether you (or someone on your behdf,
   such as an attorney)intend to appear at the Find Approvd Hearing.If you wish to have m attorney represent yo"
   connection with any written Objection, including to appear d the Find Approvd Hearing, you wdll be respo^ible
   for any fees or expenses ofthat attorney. If you submit a written Objection, you will remain a Settlement Class
   member and, if the Court rejects your objection(s), you will still be bound by the terms of the Settlement
   Agreement,including the Release.




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       D.        SUMMARY OF PROPOSED SETTLEMENT TERMS


     This Settlement Agreement is conditioned upon the Court entering an order granting final approval ofthe Settlement
     Agreement as^r,reasonable,and adequate and in the best interests ofthe Class.Subjectto the Settlement Agreement
      becoming final, the terms ofthe Settlement Agreement are as follows:
     1. Special Election Disclosures and Potions: In consideration for a Release as described in Pa^raph D.2,and
          as a direct result ofthe Class Action and the Settlement Agreement, Genworth will send a special election letter
          ("Special Election Lettef^ to all Settlement Class members after the Settlement has been finally approved. The
          Special Election Letter will contain, subject to approval by the Court and being approved by and/or not objected
          to by state insurance regulators:
                 (a) Disclosure ofcertain information about GLIC's and/or GLICNY's future rate increase plans and need for
                     future rate increases(the "Disclosures"); and
                 (b) Settlement Class members' right to make an election of either (1) maintaining current benefits at
                      existing filed rates (subject to the future approved rate increases), or (2) electing from a selection of
                      reduced paid-up benefit options or reduced benefit options(the "Special Election Options"),subject to
                      the availability ofthose options depending on each Settlement Class members' current policy terms
                      and benefits and any state limitations concerning Partnership Plan requirements. Special Election
                      Options that may be available could increase the amount of your current non-forfeiture paid-up benefit
                      or entitle you to cash damages pay-outs. The actual Special Election Options avail^le to you will
                      depend upon many foctors including, but not limited to, your current policy status and benefits, flnal
                      court approval, and state regulatory review and comment.
     2. Release; Each member ofthe Settlement Class who does not timely and validly opt out ofthe Settlement Class,
        will fully and irrevocably waive and release GLIC and GLICNY (collectively "Genworth") and each of those
        entities' respective affiliates, predecessors, successors, parents, subsidiaries, and, for each of the foregoing,
        their current, former, and future directors, officers, direct and indirect owners, members, managers, attorneys,
        representatives, employees, and agents (the "Genworth Released Parties") of and from any and all known or
        unknown, contingent or absolute, matured or unmatured, suspected or unsuspected, disclosed or undisclosed,
          foreseeable or unforeseeable,liquidated or unliquidated,existing orarising in the future,and accrued orunaccrued
              claims, demands,interest, pendties, fines, and causes of action, that the Named Plaintiffo and Settlement Class
          members may have from the beginning oftime through and including the final settlement date that relate to claims
          alleged, or that have a reasonable connection with any matter offact set forth in the Class Action including, but
          not limited to, any claims relating to rate increases on Class Policies. TTiis release specifically includes any legal
          or equitable claim arising from or related to any election or policy change made or not made by any Settlement
          Class member to his or her policy benefits prior to the final settlement date. Named Plaintiffs and Settlement
          Class members will further release the Genworth Released Parties and Cltiss Counsel fiom any future claims,
          on any legal or equitable basis, relating to or arising out of the Special Election Options and/or statements and
          representations provided in connection with the Special Election (Options including(but not limited to)any claim
          specifically relating to any decision, or non-decision,to maintain, modify,or give up coverage.
          This Release will not preventa Settlement Class memberfrom makingaclaim for benefits underthe policyholder's
          long-term care insurance policy consistent with his or her policy coverage.
          This Class Notice only contains asummary ofthe actual benefits and release language contained in the Settlement
          Agreement, which is on file with the Court and available for your review, including on the settlement website
          described below. If the Settlement Agreement is not ^proved by the Court or does not become final for any
          reason, the Class Action will continue, this Release will not be binding, and the Special Election Options will
          not be available.

    3. Attorneys* Fees and Litigation Expenses: As part ofthe requestfor final approval ofthe Settlement Agreement,
       Class Counsel will file a request seeking to be paid the following:
                 (a) $2,000,000.00 relating to the injunctive reliefthat is in the form of the Disclosures; and
                 (b) An additional contingent paymentof15%ofcertain amounts related to Special Election Options selected by
                     the Settlement Class,which shall be no less than $10,000,000.00 and no greater than $24,500,000.00.None
                     ofthe attorneys'fees will be deducted from payments made by Genwoifo to Settlement Class members.
          Class Counsel will also file a request for an award oflitigation expenses in this case. These expenses will be no
          more than $75,000.00.

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              These are the only attorneys' fees and litigation expenses that Class Counsel will be paid as a result of the       o

              settlement. Class members will not be required to separately pay Class Counsel fiar any other attorneys' fees or    o
                                                                                                                                  to
              expenses. Genworth has agreed to pay all fees and expenses separately. The actual amounts ofattorneys' fees         o
                                                                                                                                  o
              and litigation expenses to be paid to Class Counsel will be determined by the Court, and these amounts will be      o


              paid by Genworth directly to Class Counsel.                                                                         s
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              This Class Notice only contains a summary of the actual attorneys' fees and litigation expenses provisions          o
                                                                                                                                  o

              contained in the Settlement Agreement, which is on file with the Court and available for your review,including
              on the settlement website described below.
                                                                                                                                  CO
     4.       Class Representative iService Payment: Named Plaintiffs Jerome Skochin, Susan Skochin, and Larry Huber              to
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              have been appointed as class representatives by the Court. As part of the request for FinaJ Approvtil of the        s
              Settlement Agreement,Class Counsel will request that service pajmients be awarded to each class representative      o

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              in an amount ofup to $23,000 for each ofthem for the time, woric,and risk they undertook in bringing this Class
              Action and achieving a settlement on behalf of all Settlement Class members. None of the service payments
              approved by the Court will be deducted from payments made by Genworth to Settlement Class members.

       E.        FINAL APPROVAL HEARING ON PROPOSED SETTLEMENT

     The Final Approval Hearing on die fairness and adequacy ofthe Settlement Agreement will be held on July 10,2020,
     at 10:00 a.m.in Courtroom 7400 in The Spottswood W.l^binson III and Robert R. Merhige,Jr., Federal Courtiiouse,
     701 East Broad Street, Richmond, VA 23219. You are not required to attend the Final Approval Hearing in order to
     participate in the Settlement Agreement, although you are free to do so if you choose, llie CourL in its discretion,
     may continue the Final Approval Hearing to a later date, in which case no additional written notice will be sent to
     Settlement Class members,so it is incumbent upon you to check the settlement website regarding the Final Approval
     Hearing date and time if you wish to attend.

       F.       ADDITIONAL IMPORTANT INFORMATION

     The Special Election Options described in this notice that may be part ofthis settlement still require final approval
     by the Court and are subject to review by state insurance regulators.
    You should also consider the following additional information, which m^ impact the availability ofSpecial Election
    Options under this settlement:
     1. If you currently have a long-term care policy with Genworth, you must continue to pay premiums (unless
        they have been waived)to keep your policy in force so that it is eligiblefor Special Election Options under this
        settlement Your premiums also remain subject to any rate increases that may be approved or otherwise permitted.
     2. Changes to your policy status or coverage(including lapse or termination) may impact whether or not you
        are in the proposed Settlement Class and/or whether Special Election Options will be available to you.
                •    If your policy lapses after the date ofthis Notice but is still in the period during which your policy can
                     be automatically reinstated by paying any past-due premium, you will need to reinstate your policy by
                     paying the past^ue premium to exercise any rights and options under the settlement.
                •    If, before you are sent a Special Election Letter, your policy lapses and is outside any period Genworth
                     allows for the policy to be automatically reinstated with paymentofpast-due premium,or terminates for
                     any other reason, then you will be excluded from the Settlement Class and the Special Election Options
                     will not be available to you.
                •    If, after you have been sent a Special Election Letter, your policy lapses and is outside any period
                     Genworth allows for tlie policy to be automatically reinstated with payment of past-due premium, or
                     terminates for any other reason, then you will remain in the Settlement Class and release your claims,
                     but you will no longer be eligible for the Special Election Options.
    3. If you reduce your coverage, including in response to a rate increase on your policy, your reduction in
            coverage may affect the Special Election Options that otherwise may become available to you under this
            settlement. As a policyholder, you have options to reduce your coverage that are separate from the Special
            Election Options that may become available to you under this settlement. For example, if there is a premium
          rate increase on your policy, you will have options for reducing your coverage. Those options will be different
          from any Specisd Election Options that may become available under this settlement and do not include the

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            possibility ofa cash damages payout. If you select an option to reduce your coverage separate from the Special
            Election Options th^ may be available under this settlement, you may eliminate or reduce the availability ofany
            rature Special Election Options or the value ofany corresponding cash damages payments that may be available.
            WheAer one of these options or any Special Election Option will best meet your needs will depend on your
            specific circumstances.
            ThisNotice is onlyasummary ofthe SettlementAgreement.Forthe precise termsand conditionsofthe settlement,
            the com{)lete Settlement Agreement, pleadings and documents on file in this case, and other information
            about this settlement including important dates, PLEASE VISIT THE SETTLEMENT WEBSITE AT
            www.LongTermCareInsuranceSettlement.com OR CALL THE SETTLEMENT ADMINISTRATOR AT
            1 (833)991-1532.




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                                        APPENDIX 1 TO CLASS NOTICE                            o
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                                               CLASS POLICIES                                 8
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    1           COM PA MY CODE                       STA'I E                       FORM       o
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                                   31 AK                             7035AP                   o
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                                   31 AL                             7035
                                   31   AL(Group Certificate)        7035CRT
                                                                                              CO

                                   31 AR                             7035M                    s
                                   31 AZ                             7035V
                                   31 CA                             7035AX;
                                   31 CA                             7035AJ;7035AX
                                   31   CA Partnership               7037A;7037C
                                   31 CO                             7035H
                                   31 CO                             7025S
                                   31 CO                             7025B
                                   31 CT                             7035AF
                                   31   CT Partnership               7037

                                   31 DC                             7035
                                   31 DE                             7035A
                                   31 FL                             7035AC
                                   31 OA                             7035D
                                   31 HI                             7035AM
                                   31 lA                             7035R
                                   31 ID                             7035W

                                   31 IL                             7035C
                                   31 IN                             7035S
                                   31   IN Partnership               7037B
                                   31 KS                             7035AQ
                                   31 KY                             7035B
                                   31 LA                             7035U
                                   31 MA                             7035AG
                                   31 MD                             7035AT
                                   31 ME                             7035Y

                                   31 MI                             7035
                                   31 MN                             7035AL

                                   31 MO                             7035AD
                                   31 MS                             7035N
                                   31 MT                             7035AK(2000 TQ)
                                   31 NC                             7035AR
                                   31 ND                             7035AU
                                   31 NE                             7035G
                                   31 NH                             7035Z
                                   31   NJ                           7035CRT

                                   31 NM                             7035AE


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                                    31 NV                         7035P
                                   40 NY                          51010
                                   40   NY Partnership            51011
                                    31 OH                         7035
                                    31 OK                         7035L
                                    31 OR                         7035AV
                                   31 PA                          7035AN
                                   31 RI                          7035
                                   31 SC                          7035K
                                   31 SD                          7035AB
                                   31 TN                          7035E
                                   31 TX                          7035AW
                                   31 TX                          7035F
                                   31 UT                          7035AS
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                                   31 VT                          7035AA
                                   31 WA                          7035T
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